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                                                             The Honorable John C. Coughenour
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7
                                UNITED STATES DISTRICT COURT
8
                               WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
9

10   ESTATE OF ADAM CHRISTOPHER
     JENSEN, by the Personal Representative           NO. C20-1320-JCC
11
     PAULA DOW; and PAULA DOW, an
12   individual,                                      STIPULATED MOTION AND
                                                      [PROPOSED] ORDER TO FILE
13                             Plaintiffs,            CONFIDENTIAL MATERIAL UNDER
                                                      SEAL
14          vs.
15
                                                      NOTE ON MOTION CALENDAR:
     COUNTY OF SNOHOMISH, a municipal                 Friday, March 26, 2021
16   corporation; SNOHOMISH COUNTY
     DEPUTY SHERIFF WILLIAM WESTSIK,
17   and his marital community; SNOHOMISH
     COUNTY DEPUTY SHERIFF KEVIN
18
     PELLEBOER, and his marital community;
19   SNOHOMISH COUNTY SHERIFF’S
     SERGEANT CHAD GWORDSKE, and his
20   marital community; EVERETT CITY
     POLICE DEPARTMENT, a municipal
21
     corporation; “DOE(S) 1-100”, employees of
22   the COUNTY OF SNOHOMISH and/or
     EVERETT CITY POLICE DEPARTMENT;
23   and “CORPORATION(S) XYZ 1-100,”
24
                               Defendants.
25
            The parties submit the following Stipulated Motion to File Confidential Material Under
26
     Seal pursuant to Fed. R. Civ. P. 26(c).
27
                                                                          SNOHOMISH COUNTY
     STIPULATED MOTION AND [PROPOSED] ORDER TO                  PROSECUTING ATTORNEY - CIVIL DIVISION
     FILE CONFIDENTIAL MATERIAL UNDER SEAL - 1                      Robert Drewel Bldg., 8th Floor, M/S 504
     USDC #C20-1320-JCC                                                      3000 Rockefeller Ave
                                                                    EVERETT, WASHINGTON 98201-4060
                                                                      (425)388-6330/FAX: (425)388-6333
               Case 2:20-cv-01320-JCC Document 34 Filed 03/26/21 Page 2 of 5




                                                I.    FACTS
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2           Plaintiff has filed a civil rights lawsuit pursuant to 42 U.S.C. § 1983 in which she alleges,

3    among other things, that on September 9, 2018 Snohomish County Defendants used excessive
4
     force against her son, resulting in his death. Dkt. 4. The Snohomish County Defendants acquired
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     video footage of events just prior to, during and immediately following the incident in question.
6
            The parties in this case have stipulated with respect to the confidentiality of many of the
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8
     materials associated with this litigation, including this video footage, in a separate protective

9    order approved by the Court on February 3, 2021. Dkt. 32. The video footage that is the subject
10   of this motion is identified as Bates Nos. DOW 00027-30. Though Plaintiff has designated these
11
     videos as “Confidential,” Snohomish County Defendants are in agreement with this designation.
12
     Snohomish County Defendants will shortly be filing a motion for partial summary judgment and
13

14
     seek to file a selection of the video clips in support of their motion under seal pursuant to the

15   terms of the protective order, in the interest of preserving the confidential nature of this video

16   footage and to prevent potential jurors from forming improper bias if they were to view this
17
     evidence before trial. The parties met and conferred on March 19, 2021 regarding filing these
18
     videos under seal and subsequently agreed to such a filing by stipulation.
19
                                          II.        ARGUMENT
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21          Parties may seek to file a document under seal pursuant to Local Civil Rule 5(g). While

22   there is a strong presumption of public access to the court’s files, a document that a party has
23
     designated as “confidential” in discovery may be filed under seal in order to protect sensitive
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     information. See LCR 5. In the instant case, the video Snohomish County Defendants seek to
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27
                                                                              SNOHOMISH COUNTY
     STIPULATED MOTION AND [PROPOSED] ORDER TO                      PROSECUTING ATTORNEY - CIVIL DIVISION
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               Case 2:20-cv-01320-JCC Document 34 Filed 03/26/21 Page 3 of 5




     file in support of their motion contains both sensitive footage of the incident underlying
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2    Plaintiff’s complaint and depictions of minors.

3           For the purpose of dispositive motions that require the video, the parties propose filing
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     the video under seal with the Court for use in the dispositive motion or response to the dispositive
5
     motion by any other party to this action.
6
            The parties have already stipulated with respect to possession and confidentiality of
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8
     pertinent materials associated with this litigation, including these video clips, in a separate

9    protective order entered into between all parties and approved by this court on February 3, 2021.
10   Dkt. 32. Filing the video clips identified as Bates Nos. DOW 00027-30, under seal with this
11
     Court provides continued privacy regarding the sensitive content of the clips while also making
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     the clips available only to this Court and all parties to this action for viewing and use in future
13

14
     motions and proceedings, until trial. The parties have agreed that the video clips that are the

15   subject of this motion may be admissible at trial and specifically reserve the right to seek that

16   they be unsealed and offered into evidence at trial.
17
                                          III.    CONCLUSION
18
            The parties respectfully request that, in light of the sensitive nature of these video clips,
19
     County Defendants be allowed to file the video clips under seal, and subject to such protections
20

21   as the Court deems appropriate.

22   DATED this _26th _ day of March, 2021.              DATED this _26th day of March, 2021
23
     ADAM CORNELL                                        AKW LAW, P.C.
24   Snohomish County Prosecuting Attorney

25   By: /s/ Katherine H. Bosch                          By: ___/s/ Jordan T. Wada_______
     DEBORAH A. SEVERSON, WSBA #35603                    ADA K. WONG, WSBA #45936
26
     KATHERINE H. BOSCH, WSBA #43122                     JORDAN T. WADA, WSBA #54937
27
                                                                               SNOHOMISH COUNTY
     STIPULATED MOTION AND [PROPOSED] ORDER TO                       PROSECUTING ATTORNEY - CIVIL DIVISION
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               Case 2:20-cv-01320-JCC Document 34 Filed 03/26/21 Page 4 of 5




     ALEX J. WITENBERG, WSBA #50356                     6100 – 219th Street SW, Suite 480
1
     Deputy Prosecuting Attorneys                       Mountlake Terrace, WA 98043
2    Snohomish County Prosecutors Office                Tel: (206) 259-1259 / Fax: (855) 925-9529
     3000 Rockefeller Ave., M/S 504                     ada@akw-law.com
3    Everett, WA 98201-4046                             jordan@akw-law.com
     Tel: (425) 388-6330 / Fax: (425) 388-6333
4                                                       Attorney for Plaintiff Paula Dow, individually
     deborah.severson@co.snohomish.wa.us
                                                        and as Personal Representative for the Estate
     kbosch@snoco.org
5                                                       of Adam Christopher Jensen
     alex.witenberg@co.snohomish.wa.us
6
     Attorney for Defendants Snohomish County,
7    Westsik, Pelleboer, and Gwordske

8
     DATED this 26th_ day of March, 2021.
9

10   CITY OF EVERETT

11   By: __/s/ Ramsey E. Ramerman           _____
     RAMSEY E. RAMERMAN, WSBA #30423
12
     Office of the City Attorney – City of Everett
13   2930 Wetmore Avenue, #10-C
     Everett, WA 98201
14   Tel: (425) 257-7000
     rramerman@everettwa.gov
15
     Attorney for City of Everett Police Department
16

17

18
                                                  ORDER
19
            The Stipulated Motion and Order to File Confidential Material Under Seal is GRANTED.
20

21
     Defendants shall file a copy of the confidential materials under seal with the clerk’s office.

22          DATED this _______ day of ___________________, 2021.
23

24
                                                   HONORABLE JOHN C. COUGHENOUR
25                                                 United States District Court Judge
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27
                                                                              SNOHOMISH COUNTY
     STIPULATED MOTION AND [PROPOSED] ORDER TO                      PROSECUTING ATTORNEY - CIVIL DIVISION
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                                                                          (425)388-6330/FAX: (425)388-6333
               Case 2:20-cv-01320-JCC Document 34 Filed 03/26/21 Page 5 of 5




                                      DECLARATION OF SERVICE
1

2           I declare that I am an employee of the Civil Division of the Snohomish County Prosecuting

3    Attorney’s Office, and that I caused to be delivered the foregoing document on the following
4
     parties by the methods indicated:
5
            Ada K. Wong                                               E-Filed via CM/ECF
6           Jordan T. Wada                                            E-Mailed
            AKW LAW, P.C.                                             Facsimile
7
            6100 - 219th St. SW, Suite 480                            U.S. Mail, 1st Class
8
            Mountlake Terrace, WA 98043                               Hand Delivery
            ada@akw-law.com                                           Messenger Service
9           jordan@akw-law.com
            paralegal@akw-law.com
10          Co-Counsel for Plaintiff
11
            Isabel S. Johnson                                         E-Filed via CM/ECF
12          Law Office of Isabel S. Johnson, PLLC                     E-Mailed
            748 Market Street, Suite #15                              Facsimile
13          Tacoma, WA 98402                                          U.S. Mail, 1st Class
14
            isabel@isjlaw.com                                         Hand Delivery
            Co-Counsel for Plaintiff                                  Messenger Service
15
            Ramsey E. Ramerman                                        E-Filed via CM/ECF
16          Everett City Attorney’s Office                            E-Mailed
            2930 Wetmore Avenue, Suite 10-C                           Facsimile
17
            Everett, WA 98201                                         U.S. Mail, 1st Class
18          rramerman@everettwa.gov                                   Hand Delivery
            cwiersma@everettwa.gov                                    Messenger Service
19          Attorney for City of Everett
20
            I certify under penalty of perjury under the laws of the state of Washington that the
21
     foregoing is true and correct.
22

23
            DATED this 26th day of March, 2021.

24

25                                               Cindy Ryden, Legal Assistant
26

27
                                                                           SNOHOMISH COUNTY
     STIPULATED MOTION AND [PROPOSED] ORDER TO                   PROSECUTING ATTORNEY - CIVIL DIVISION
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